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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA

______________________________
LARRY HENNIS                                   )
                                               )      Case Number
                Plaintiff                      )
                                               )      CIVIL COMPLAINT
                vs.                            )
                                               )
ACADEMY COLLECTION                             )
SERVICES, INC.                                 )       JURY TRIAL DEMANDED
                                               )
                                               )
            Defendant                          )
_____________________________                  )



                            COMPLAINT AND JURY DEMAND

          COMES NOW, Plaintiff, Larry Hennis, by and through his undersigned counsel,

Bruce K. Warren, Esquire of Warren & Vullings, LLP, complaining of Defendant, and

respectfully avers as follows:



                            I. INTRODUCTORY STATEMENT

          1.    Plaintiff, Larry Hennis, is an adult natural person and brings this action for

actual and statutory damages and other relief against Defendant for violations to the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), which prohibits debt

collectors from engaging in abusive, deceptive and unfair practices.



                                   II. JURISDICTION

       2.       Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.

§ 1337.
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       3.      Venue in this District is proper in that the Defendant’s principal place of

business is here and Defendant transacts business.



                                     III. PARTIES

       4.      Plaintiff, Larry Hennis, is an adult natural person residing at 630 South

Aspen Court, Saint Peter, MN 56082.

       5.      Defendant, Academy Collection Services, Inc. (“Defendant”), at all times

relevant hereto, is and was a corporation engaged in the business of collecting debt within

the Commonwealth of Pennsylvania with its principal place of business located at 10965

Decatur Road, Philadelphia, PA 19154.

       6.      Defendant is engaged in the collection of debts from consumers using the

telephone and mail. Defendant regularly attempts to collect consumer debts alleged to be

due to another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.

§1692a(6).



                           IV. FACTUAL ALLEGATIONS

       7.      In or around the end of November 2008, Defendant, by and through its

agents, began a barrage of harassing and abusive telephone calls to Plaintiff’s employer,

University Printing Services in regards to a debt allegedly owed by Plaintiff.

       8.      University Printing Services secretary, Katherine Wilcox repeatedly

informed Defendant’s agents that Plaintiff could not take personal calls at work.
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        9.     Defendant’s agents continued to contact Plaintiff’s employer daily,

sometimes multiple times per day despite knowing that Plaintiff’s employer prohibits

such communications.

        10.    Defendant’s agents were not confirming or correcting Plaintiff’s location

information and have informed Ms. Wilcox that they are attempting to collect a debt from

Plaintiff.

        11.    On or around December 21, 2008, Defendant’s agent left a message for

Plaintiff on the main voicemail for University Printing Services. This was not Plaintiff’s

voicemail nor did he have a mailbox or extension at his place of employment. In fact

numerous employees of University Printing Services have the password to the main

mailbox and messages are often played on speaker.

        12.    In the message, Defendant’s agent stated that she was attempting to collect

a debt from Plaintiff.

        13.    Plaintiff was humiliated and embarrassed.

        14.    Defendant has never sent Plaintiff the required 30 day validation notice.

Despite this fact, Defendant, by and through its agents, continues to harass Plaintiff by

calling his employer.

        15.    The Defendant acted in a false, deceptive, misleading and unfair manner

when they engaged in conduct the natural consequences of which is to harass, oppress, or

abuse such person in connection with the collection of a debt.

        16.    The Defendant acted in a false, deceptive, misleading and unfair manner

when they, without permission from the Plaintiff, communicated with persons other than
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the Plaintiff that the Plaintiff owes a debt and made such communications on multiple

occasions.

        17.     The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

their agent’s actions within compliance of the FDCPA, but neglected to do so and failed

to adequately review those actions to insure compliance with the law.

        18.     At all times pertinent hereto, Defendant was acting by and through it

agents, servants and/or employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendant herein.

        19.     At all times pertinent hereto, the conduct of Defendant as well as its

agents, servants and/or employees, was malicious, intentional, willful, reckless, negligent

and in wanton disregard for federal and state law and the rights of the Plaintiff herein.

        20.     As a result of Defendant’s conduct, Plaintiff has sustained actual damages,

including, but not limited to, injury to Plaintiff’s reputation, invasion of privacy, damage

to Plaintiff’s credit, out-of-pocket expenses, physical, emotional and mental pain and

anguish and pecuniary loss and he will continue to suffer same for an indefinite time in

the future, all to his great detriment and loss.



                                    COUNT 1 – FDCPA

        21.     The above paragraphs are hereby incorporated herein by reference.

        22.     At all times relevant hereto, Defendant was attempting to collect an

alleged debt which was incurred by Plaintiff for personal, family or household purposes

and is a “debt” as defined by 15 U.S.C. § 1692a(5).
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        23.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of §§ 1692b(1), b(2), b(3), c(a)(1), c(a)(3), c(b), d,

d(5), d(6), e, e(10), e(11), f and g.

        WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant, Academy Collection Services, Inc. for the following:

        a.      Declaratory judgment that Defendant’s conduct violated the FDCPA and

                declaratory and injunctive relief for the Defendant’s violations of the state

                Act;

        b.      Actual damages;

        c.      Statutory damages pursuant to 15 U.S.C. § 1692k;

        d.      Reasonable attorney’s fees and litigation expenses, plus costs of suit; and

        e.      Such additional and further relief as may be appropriate or that the

                interests of justice require.



                                        V. JURY DEMAND

        Plaintiff hereby demands a jury trial as to all issues herein.



                                                  Respectfully submitted,

                                                  WARREN & VULLINGS, LLP

Date: February 6, 2009                      BY:      /s/ Bruce K. Warren
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